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                                                                                      .
                                                                                Officrt of the President

                                                                  September    24, 1976



Mr. Martin H. Gerry, Director
Office of Civil Rights
Department of Health, Education,             and Welfare
Washington, D.C.    20201

Dear Mr. Gerry;

      The College seeks exemptions from the following                  sections  of the Final
Title   IX Regulations: 86.21 (c); 86.40 (b) (1) and (5);              86.57 (a) (1) (b) (c) (d);
86.60(a).

        The substance     of all of the above sections     deals with items such as
martial    status,    pregnancy,     pregnancy as a temporary disability,   pregnancy
leave,    etc.     Normally, the College is not concerned with th~ marital         status
of either      a prospective     student or faculty member if the status    is either
that of single or married.            Such persons are not discriminated   against    on
the basis of sex.         On the subject     of divorce, however, the College takes
a different      stance.

        Scripture     teaches    that a person is to be married to one partner               for
life barring       certain    circumstances.        And when a person procures         a divorce
because of circumstances            which are specifically        contrary    to Biblical    teach-
ing, the acceptance          of such a person as a student or member of the faculty/
staff    can jeopardize       the Biblecal      stance/teaching/education         process of
this church-owned College.             For ex~le,         ass~e   two persons are married.
Person one involves          himself in all kinds of extramarital             immoral sexual
activity     while married which leads to his partner's                 procural   of a divorce.
Since this College takes a very clear position                   on the high moral behavior
of students       and faculty,      and since these expectations           are based on clear
Biblical     teachings,      the acceptance      of such a. student or employee (assuming
the student       or employee still       practices     the immoral behavior)        will jeopardize
the integrity       of the College community and its religious                teachings •
                                                                                          ..
        Under section     86.21(c),    the College may make no pre-a                           i
as to the martial       status     of the applicant.  This same prohi                     . ex
regard to employees in 86.GO(a).            In sum, both of these pr                         ~ at,
trary

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                     It should be noted here that both men and
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here.

                GEORGE FOX COLLE       ·/   EWBERG, OREGON 97132 / (503) 538-8383

EXHIBIT I                                                   1~.                                            1
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        Mr. Martin       H. Gerry                                           September    24,   1976

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               With regard to the pregnancy sections            (sections     86.40 and 86.57)      the
        College is only concerned           here with an out-of-wedlock         pregnancy.    :As long
        as the pregnancy,       childbirth,      false pregnancy,     termination      of pregnancy
        or recovery     therefrom    occur in wedlock, the College is in compliance                with
        sections    86.40 and 86.57.         But where either     a student     or employee becomes
        pregnant    out of wedlock, the College reserves            the right to exclude such
        persons    (bother mother and father)          from any or all of its programs.            To
        do otherwise      would be to run counter to the College's              position   with re-
        gard to sexual morality,          which position    is based on a religious/Biblical
        tenet.

               Further, consistent     with the          expectations     of HEWForm 639,       the   College
         submits the following     information:

               (1)    The name of the religious     organization governing               the College      is
                      the Northwest Yearly Meeting of Friends Church.                    The College      is
                      controlled  by such organization.

               (2)    Implementing    the sections  of Title    IX as hereinbefore   noted
                      without   exemptions   asked for would conflict     with a specific
                      religious   tenet of religion    as practiced   by the Northwest     Yearly
                      Meeting of Friends Church •

               I trust     this
                                        .
                                    is acceptable      to you.




                                                                            t~y~hesi
                                                                            GEORGEFOX COLLEGE
                                                                            Newberg, OR 97132

         DLS:gj

         Enclosure




        EXHIBIT I                                                                                               2
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                      UNITED ST ATES DEPARTMENT               OF EDUCATION
                    Ofl-JCJ:-: OF THE ASSISTANT   SECRETARY     FOR CIVIL RIGHTS
                                                          /


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                                                  AUG~ l985
Dr. Edward F. Stevens
President
George Fox College
Newberg, Oregon 97132
Dear Dr. Stevens:
The Office for Civil Rights of the Department of Education (OCR/ED)is in
the process of clearing a backlog of requests for religious exemption from
Title IX of the Education Amendmentsof 1972. Our records indicate that
George Fox College filed such a request, but there is no record that OCR
adequatel y acknowledged this request.
Wehave recently reviewed the request filed by for1rer President David C.
Le Shana (copy enclosed) in which he described several policies practiced
at George Fox College as consistent.with the tenets of the religious organi-
zation that controls the institution.     These policies would violate certain
sections of the regulation implementing Title IX (copy enclosed) absent a
religious exemption. Dr. Le Shana supplied infonnation in his request
 letter that establishes that the institution   is controlled by a religious
organization and that tenets followed by this organization conflict with
specific sections of the Title IX regulation.     Therefore, I am granting
George Fox College an ~xemption to those sections of the Title IX regulation
specified in the request letter.    The exemption is limited· to the extent
that ccmpliance with the Title IX regulation conflicts with the religious
tenets followed by the institution.    George Fox College is hereby exempted
from the requirements of the following sections of the Title IX regulation:
34 C.F.R. §§.106.21(c); 106.40(b)(l) and (5); 106.57(a)(l),     (b), (c), (d);
and, 106.60(a). The basis for our decision to grant this exemption is
discussed in further detail below.
Dr. Le Shana 1 s letter indicated that the religious organization governing
George Fox College is the Northv,est Yearly Meeting of Friends Church (NYMFC),
and that the College is controlled by this organization.      This relationship
between the NYMFC    and George Fox College adequately establishes that George
Fox College is controlled by a religious organization as is required for
consideration for exemption under§ 106.12 of the Title IX regulation.
In his letter Dr. Le Shana indicated that "Scripture teaches that a person
is to be married to one partner for life barring certain circumstances.     And
when a person procures a divorce because of circumstances which are specif-
ically contrary to Biblical teaching, the acceptance of such a person as a
student or member of the faculty/staff  can jeopardize the Biblical stance/
teaching/education process of this church-owned college."    Thus, with
respect to admissions and hiring, George Fox College "takes a very clear
position on the high rooral behavior of students and faculty, and •••
these expectations are based on clear Biblical teachings[.]"




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Page 2 - Or. Edward F. Stevens


Based on the above principle,       George Fox College has requested and is granted
by this letter,     exemption to 34 C.F.K. § 106.21(c),     which pertains    to
prohibitions    with respect to consideration    of marital   or parental    status in
admission of students;      and 34 C.F.R. § 106.60(a),   which pertains    to pre-
employment inquiries     \vith respect to the marital status of an applicant.

Dr. Le Shana also indicated  in his letter that, based on a religious/Biblical
tenet concerning sexua 1 morality, George Fox Co11ege reserves the right to
exclude from its programs persons who become pregnant out of wedlock.

Based on the above principle,      George Fox College has requested and is granted
by this letter,    exemption to:    § 106.40(b)(l)  and (5), which prohibits
different   treatment   of students for reasons concerning pregnancy and related
conditions;    and§ 106.57(a)(l),    (b), (c), (d), which prohibits    taking any
employment action for reasons concerning a person's potential         marital, parental,
or family status,     or concerning pregnancy and re lated con di ti ons.

This letter   should not be construed to grant exemption from any section of
the Title IX regulation     not specifically    mentioned. In the event that OCR
receives a canplaint    against G~orge Fox College, we are obligated       to detennine
initially   whether the allegations     fall within the exemption herein granted.
Also, in the unlikely event that a complainant alleges that the practices
 followed by George Fox College are not based on the religious        tenets of the
NYMFC,OCR is obligated      to contact the NYMFCto verify those tenets.          If the
NYMFCprovides an interpretation        of tenets that has a different    practical
impact than that described     by George Fox College, or if the NYMFCdenies
that it controls the ipstitution,       this exemption will be rescinded.

I hope this letter    responds fully to your institution's       request.    I regret
the inordinate   delay in responding to the original       request.    If you have
any questions,   please do not hesitate  to contact the Seattle        Regional Office
for Civil Rights.     The address is:

                    Gary D. Jackson
                    Regional Civil Rights Director
                    Office for Civil Rights, Region X
                    Department of Education
                    2901 Third Avenue, M/S 106
                    Seattle,  Washington 98101

                                              Sincerely,



                                               arr      • Si gleton
                                              Assistant    Secretary
                                                for Civil Rights

Enclosures

cc:   Gary D. Jackson,   Regional    Civil   Rights   Director,   Region X




EXHIBIT I                                                                                4
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                                                                                        March31, 2014


       Cathepne Lbamo.o.AsmtantSecretary
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                           DepartmentofEducation
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       400MarylaudAvenue,SW
       Washington,DC
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       h:     GeorgeFoxUniversity'sRequestfor 1(t1eIX RdigiousExemption
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       identity. AB Presidentof GeorgeFox University,a private,rcligloualiberal a.rt&colle c in
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       Oregon,I herebyrequest. under34 C.P.R.~~2,            an exemptionfor GeOKgo  Fox from thia
       interptetationof TitleIX, due to the religious · of our imtit\ltion.
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       Christianeducation- fromits earlydaysas Fri~s PacificAcademy,establishedin 1885,~ the
       preSMt Its namehonorsthe fbunduof the Rrienda(Quaker)movcmont        and the Univcrsi~is
       ownedby the NorthwestYeadyMeetingof Pripidt   (in fact, 4/7of the Boardof Trusteesmust be
       Fricuda).                                                         ·

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       Letterto Ma.Catherine
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       regardto mnes   of .sexualmorality.The statementsays that "in regiudto sexualmoral.tty,  we
       believethat only maniagebetweena man and a womanis God's intentionfor the joyful
       fulfillmentof sexualintimacy.Thisshouldalwaysbe in the contextof m\llU4U   compassion,ovc,
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       a.odfidelity.Sexualbehaviorsoutsideof this i.ont.extal'e inconsistentwith God's teaching.We
       recognizethese principlesmay conflictwith the practiceor opinionof some within the larger
       culture.We arcconvincedthat this is God'sdesi~ for providingthe most loviogguidanceand
       practicefor individualsandour community."


               We affirmthe dignity of all humanbeings. We also separatetho valueof each person
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             . We wouldnot be a\,lo·to make similaraccommodatiOlls      comistcntwith our rolig.{ous
       beliefs, Becauseof ourbiblicalbeliefsre~      genderand sexualmorality,our practicesm.fght
       bo deemeda violationofthis interpmationof';l'itleIX, However.under20 U.S.C. §168l(ll)(3)
       and 34 C,F.R.§106,12(a),this interpretationddcsnot apply to GeorgeFox: "Thispart doesnot
       applyto an educational  institutionwhichts cohtrolledby a religiousorgmizad.011  to the ~t
       applicationof thlspart wouldnot be OQmiatcnt withthe rellgio\litenotsof sucb orgaoization.
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             Thus,on behalfof OcorseFox UDlve~ty,I herebyreque$tan officialcxe,n:ption     from
                                         of TitleIX, OcorsoFox a1adlycomplieswith TitleIX with
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       IX alsoincludesgenderidentity.
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                If yourequireanything:further,
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       cc:      GregoryS. Baylor,Esq.•AllianceDefending:
                                                      Freedom




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    EXHIBIT I                                                                   7
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                           UNITED STATES DEPARTM/\NT OF EDUCATION
                                                 OFFICE FOR CIVIL IUGHTS

                                                                                                   THE ,\SSIST,\NT SECRETARY


                                                        May 23, 2014


  Dr. Robin Baker
  President
  George Fox University
  414 N. Meridian St.
  Newberg, Oregon 97132


  Dear Dr. Baker:

  The purpose of this letter is to respond to your March 3 I, 20 I 4, letter lo the U.S.
  Deparhncnt of Education, Office for Civil Rights (OCR), in which you requested a
  religious exemption for George Fox University (University)ofNewberg, Oregon
  from Title IX or the Education Amendments or I 972 (Title IX), 20 U.S.C. 1681.                                *
  Title IX prohibits discrimination on the basis of sex in any education program or
  activity operated by a recipient of Federal financial assistance.

 The implementing regulation al 34 C.f.R. § I 06.12 provides that Title IX docs not
 apply to educational institutions controlled by religious organization:; to the extent that
 application of Title lX would be inconsistent with the institution's rcligiou:; tenets.
 1l1crefore, such educational institutions arc allowed lo request an exemption from
 Title IX by identifying the provisions of Title IX that conflict with a specific tenet of
 the religious organization. The request must identify the religious organization that
 controls the educational institution and specify the tenets of that organization and the
 provisions of the law and/or regulation that connict with those tenets.

  Your request explained that the University, which is owned by the Northwest Yearly
  Meeting of Friends (part of the Quaker movement), is "a Christ-centered community"
  that is "committed to providing a Christian education." You note that four of the
  University's seven Board of Trustees members must be Friends. You state that the
  University's biblical belief is that human beings arc created male and lcmale, and that the
  University "cannot in good conscience support or encourage an individual to live in
  conOict \Vith biblical principles."

 Your exemption request points to a recent OCR resolution agreement in which a school
 district agTeed to allow a transgender male student to use the restroom, locker room, and
 living facilities consistent with the student's gender identity, and to play on boys' athletic
 teams. You explain that the University "would nol be able to make similar
 accommodations consistenl with [your] religious beliefs." You further state that, for
 these reasons, the University is requesting an exemption from Title IX and its

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EXHIBIT I                                                                                                                              8
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 Dr. Robin Baker, George f-ox University
 May 23, 2014
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 implementing regulation to the extent that they prohibit discrimination based on gender
 identity. We interpret this statement as c1 request for exemption from provisions
 34 C.F.R. §§ I 06.32 (governing housing), I 06.33 (governing comparable facilities such
 as restrooms and locker rooms), and I 06.41 (governing athletics). The University is
 exempt from these provisions to the extent that they require a recipient to treat students
 consistent with their gender identity, but doing so would conflict with the controlling
 organization's religious tenets.

 Please note that this letter should not be construed to grant exemption from the
 requirements of Title IX and the regulation other than as stated above. rn the event that
 OCR receives a complaint against your institution, we arc obligated to detem1ine initially
 whether the allegations fall within the exemption here granted. Also, in the unlikely event
 that a complainant alleges that the practices followed by the institution arc not based on
 the religious tenets of the controlling organization, OCR is obligated to contact the
 control Iing organization to vcri fy those tenets. Ir the organization provides an
 interpretation of tenets that has a different practical impact than that described by the
 institution, or if the organization denies that it controls the institution, this exemption will
 be rescinded.

 I hope this letter responds fully to your request. If you have any questions, please do not
 hesitate to contact me.

                                                 Sincerely,



                                                 Catherine E. Lhamon
                                                 Assistant Secretary for Civil Rights
                                                 Office for Civil Rights
                                                 U.S. Dcpnrtmcnt of Education




EXHIBIT I                                                                                           9
